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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                :

               v.                                       :      21-cr-0541 (PLF)

FI DUONG ,                                              :


                    JOINT MOTION TO CONTINUE STATUS HEARING

       Mr. Fi Duong through his counsel and with the consent of the government respectfully

moves this Honorable Court to continue the February 8, 2022 status conference by 45 days to a

date convenient to the Court. Mr. Duong continues to receive discovery from the government

and he needs the additional time to review it.

       The parties jointly request that the Court exclude the time from February 8, 2022 to the

next court date set by the Court. Excluding time will best serve the interests of justice as it

outweighs the best interest of the public and the defendant in a speedy trial pursuant to 18 U.S.C.

section 3161(h)(7)(A).

       WHEREFORE, for the foregoing reasons, Mr. Duong respectfully requests that the Court

continue the status hearing to a date convenient to the Court.

                                                 Respectfully submitted,

                                                 A. J. KRAMER
                                                 FEDERAL PUBLIC DEFENDER

                                                        /s/

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